                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                SOUTHWESTERN DIVISION


LANE ALLMOND and MISTY                          )
ALLMOND,                                        )
                                                )
                              Plaintiffs,       )
                                                )
               vs.                              )     Case No.: 19-CV-05058-RK
                                                )
DOREL JUVENILE GROUP, INC.,                     )
                                                )
                              Defendant.        )


               JOINT MOTION FOR ORDER EXTENDING EXPERT DEADLINES

       Plaintiffs LANE ALLMOND and MISTY ALLMOND and Defendant DOREL

JUVENILE GROUP, INC. (the “Parties”) jointly move the Court for short extensions to the

deadlines for expert designations and depositions for the following reasons:

       1.      This is a complex product liability action which involves extensive discovery and

will have multiple expert witnesses on both sides.

       2.      Throughout the COVID-19 coronavirus pandemic, discovery has been proceeding

efficiently in this matter. However, the pandemic has made travel challenging for plaintiffs’

experts as they would be traveling from both the east and west coasts to Missouri.

       3.      Federal Rule of Civil Procedure 16(b)(4) provides: “A schedule may be modified

only for good cause and with the judge’s consent.” See Fed. R. Civ. P. 16(b)(4).

       4.      On July 22, 2020, at the Parties’ joint request, the Court entered a Second Amended

Scheduling and Trial Order (ECF No. 73) that set the following expert deadlines:

               a. Plaintiffs’ Expert Designation: 60 days before discovery deadline (2/5/2021);

               b. Deadline to Produce Plaintiffs’ Expert for Deposition: 4 weeks after expert is
                  designated (3/5/2021);



            Case 3:19-cv-05058-RK Document 81 Filed 01/04/21 Page 1 of 3
               c. Defendant’s Expert Designation: 45 days after Plaintiff Expert deadline
                  (3/19/2021);

               d. Deadline to Produce Defendant’s Expert for Deposition: 4 weeks after expert is
                  designated (4/16/2021);

               e. Rebuttal Expert Designation: 30 days before discovery deadline (4/30/2021);
                  and

               f. Deadline to Produce Rebuttal Expert: 2 weeks after expert is designated
                  (5/21/2021);

       5. The Parties jointly request short extensions of the expert deadlines, as follows:

               Event                       Current Deadline           Proposed New Deadline

 Plaintiffs’ Expert Designation                  2/5/2021                     2/26/2021

 Deadline to Produce Plaintiffs’                 3/5/2021                     3/19/2021
 Expert for Deposition
 Defendant’s Expert Designation                 3/19/2021                     4/9/2021

 Deadline to Produce Defendant’s                4/16/2021                     5/7/2021
 Expert for Deposition
 Rebuttal Expert Designation                    4/30/2021                     5/14/2021

 Deadline to Produce Rebuttal                   5/21/2021                     5/28/2021
 Expert

       6.      The requested extensions of expert deadlines will not have any impact on any other

deadlines in the case, including the discovery deadline (5/28/2021), the dispositive motion

deadline (7/2/2021), or the trial date (10/4/2021).

       WHEREFORE, the Parties request the Court to enter the Order Extending Expert

Deadlines attached hereto, and for such other relief as the Court deems necessary.




                                        2
            Case 3:19-cv-05058-RK Document 81 Filed 01/04/21 Page 2 of 3
Dated: January 4, 2021                               Respectfully Submitted,


/s/ Thomas P. Schult                                  /s/ Melissa K. Donlon
Thomas P. Schult MO #29986                            Bradley D. Kuhlman MO #42596
Jennifer Wieland     MO #57271                        Melissa K. Donlon     MO #71745
Berkowitz Oliver LLP                                  Kuhlman & Lucas, LLC
2600 Grand Boulevard, Suite 1200                      4700 Belleview Ave., Suite 300
Kansas City, Missouri 64108                           Kansas City, Missouri 64112
(816) 561-7007                                        (816) 799-0330
tschult@berkowitzoliver.com                           chad@kuhlmanlucas.com
jwieland@berkowitzoliver.com                          melissa@kuhlmanlucas.com

Counsel for Defendant                                 Counsel for Plaintiffs Lane Allmond and
Dorel Juvenile Group, Inc.                            Misty Allmond




                                CERTIFICATE OF SERVICE

       I certify that on this 4th day of January 2021, this Joint Motion for Order Extending Expert
Deadlines was filed using the CM/ECF System, which sent notice to all counsel of record.


                                                 /s/ Thomas P. Schult
                                                 Attorney for Defendant Dorel Juvenile
                                                 Group, Inc.




                                      3
          Case 3:19-cv-05058-RK Document 81 Filed 01/04/21 Page 3 of 3
